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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF INDIANA

 SEAN TAYLOR, individually and on behalf            Case No. 1:19-cv-4651
 of all others similarly situated,
                                                    COMPLAINT
                        Plaintiff,
                                                    CLASS ACTION
        v.
                                                    DEMAND FOR JURY TRIAL
 NATIONAL COLLEGIATE ATHLETIC
 ASSOCIATION,

                        Defendant.


             CLASS ACTION COMPLAINT AND DEMAND FOR JURY TRIAL

       Plaintiff Sean Taylor, individually and on behalf of all others similarly situated, brings

this Class Action Complaint and Demand for Jury Trial against Defendant National Collegiate

Athletic Association (“NCAA”) to obtain redress for injuries sustained a result of Defendant’s

reckless disregard for the health and safety of generations of Wayne State College (“Wayne

State”) student-athletes. Plaintiff alleges as follows upon personal knowledge as to himself and

his own acts and experiences and, as to all other matters, upon information and belief, including

investigation conducted by his attorneys.

                                       INTRODUCTION

       1.      Nearly one hundred thousand student-athletes sign up to compete in college

football each year, and it’s no surprise why. Football is America’s sport and Plaintiff and a Class

of football players (defined below) were raised to live and breathe the game. During football

season, there are entire days of the week that millions of Americans dedicate to watching the

game. On game days, hundreds of thousands of fans fill stadium seats and even more watch

around the world. Before each game, these players—often mere teenagers—are riled up and told
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to do whatever it takes to win and, when playing, are motivated to do whatever it takes to keep

going.

         2.     But up until 2010, Defendant NCAA kept players and the public in the dark about

an epidemic that was slowly killing college athletes.

         3.     During the course of a college football season, athletes absorb more than 1,000

impacts greater than 10 Gs (gravitational force) and, worse yet, the majority of football-related

hits to the head exceed 20 Gs, with some approaching 100 Gs. To put this in perspective, if you

drove your car into a wall at twenty-five miles per hour and weren’t wearing a seatbelt, the force

of you hitting the windshield would be around 100 Gs. Thus, each season these 18, 19, 20, and

21-year-old student-athletes are subjected to repeated car accidents.

         4.     Over time, the repetitive and violent impacts to players’ heads led to repeated

concussions that severely increased their risks of long-term brain injuries, including memory

loss, dementia, depression, Chronic Traumatic Encephalopathy (“CTE”), Parkinson’s disease,

and other related symptoms. Meaning, long after they played their last game, they are left with a

series of neurological events that could slowly strangle their brains.

         5.     For decades, Defendant NCAA knew about the debilitating long-term dangers of

concussions, concussion-related injuries, and sub-concussive injuries (referred to as “traumatic

brain injuries” or “TBIs”) that resulted from playing college football, but recklessly disregarded

this information to protect the very profitable business of “amateur” college football.

         6.     While in school, Wayne State football players were under Defendant’s care.

Unfortunately, Defendant did not care about the off-field consequences that would haunt

students, like Plaintiff Taylor, for the rest of their lives.




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        7.      Despite knowing for decades of a vast body of scientific research describing the

danger of traumatic brain injuries (“TBIs”) like those Plaintiff experienced, Defendant failed to

implement adequate procedures to protect Plaintiff and other Wayne State football players from

the long-term dangers associated with them. They did so knowingly and for profit.

        8.      As a direct result of Defendant’s acts and omissions, Plaintiff and countless

former Wayne State football players suffered brain and other neurocognitive injuries from

playing NCAA football. As such, Plaintiff brings this Class Action Complaint in order to

vindicate those players’ rights and hold the NCAA accountable.

                                            PARTIES

        9.      Plaintiff Sean Taylor is a natural person and citizen of the State of Michigan.

        10.     Defendant NCAA is an unincorporated association with its principal place of

business located at 700 West Washington Street, Indianapolis, Indiana 46206. Defendant NCAA

is not organized under the laws of any State, but is registered as a tax-exempt organization with

the Internal Revenue Service. As such, Defendant NCAA is a citizen of the State of Indiana

pursuant to 28 U.S.C. § 1332(d)(10).

                                 JURISDICTION AND VENUE

        11.     This Court has subject matter jurisdiction over Plaintiff’s claims under 28 U.S.C.

§ 1332(d)(2) because (a) at least one member of the Class, which consists of at least 100

members, is a citizen of a different state than Defendant, (b) the amount in controversy exceeds

$5,000,000, exclusive of interest and costs, and (c) none of the exceptions under that subsection

apply to this action.




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       12.     This Court has personal jurisdiction over Defendant NCAA because it conducts

significant business in this District, including establishing consumer and business contracts here,

and because it maintains its principal place of business in this District.

       13.     Venue is proper in this District pursuant to 28 U.S.C. § 1391 because a substantial

part of the events and omissions giving rise to Plaintiff’s claims occurred in and/or emanated

from this District, and because Defendant NCAA resides here.

                                  FACTUAL BACKGROUND

I.     Defendant Had A Duty To Protect Wayne State Student-Athletes, Including
       Plaintiff.

       14.     The NCAA is the governing body of collegiate athletics that oversees twenty-

three college sports and over 400,000 students who participate in intercollegiate athletics,

including the football program at Wayne State. According to the NCAA, more than 1,200

schools, conferences and affiliate organizations collectively invest in improving the experiences

of athletes—on the field, in the classroom, and in life.

       15.     The NCAA brings in more than $750 million in revenue each year and is the most

significant college sports-governing body in the United States.

       16.     The NCAA plays a significant role in governing and regulating the Wayne State

football program and owes a duty to safeguard the well-being of its student-athletes.

       17.     In fact, since its founding in 1906, the NCAA (then the Intercollegiate Athletic

Association of the United States (“IAAUS”)), has claimed to be “dedicated to safeguarding the

well-being of student-athletes and equipping them with the skills to succeed on the playing field,

in the classroom and throughout life.”1 The IAAUS was specifically formed for this purpose


1
         Who We Are, Nat’l Collegiate Athletic Ass’n, http://www.ncaa.org/about/who-we-are
(last visited November 22, 2019).


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because, at the turn of the twentieth century, head injuries were occurring at an alarming rate in

college football. In response, President Theodore Roosevelt convened a group of Ivy League

university presidents and coaches to discuss how the game could be made safer. After several

subsequent meetings of colleges, the NCAA was established. 2

        18.        As such, the genesis of the NCAA was for a singular goal: “to keep college

athletes safe.”3

        19.        The overarching principles of the NCAA, including its purported commitment to

safeguarding its athletes, are contained in the NCAA Constitution. The NCAA Constitution

clearly defines the NCAA’s purpose and fundamental policies to include maintaining control

over and responsibility for intercollegiate sports and athletes. The NCAA Constitution states:

                   The purposes of this Association are:

                   (a) To initiate, stimulate and improve intercollegiate athletics
                       programs for athletes;

                   (b) To uphold the principal of institutional control of, and
                       responsibility for, all intercollegiate sports in conformity with
                       the constitution and bylaws of this association;

NCAA Const., Art. 1, § 1.2(a)(b).

        20.        The NCAA Constitution also defines one of its “Fundamental Policies” as the

requirement that “[m]ember institutions shall be obligated to apply and enforce this legislation,

and the enforcement procedures of the Association shall be applied to an institution when it fails

to fulfill this obligation.” NCAA Const., Art. 1, § 1.3.2.




2
        In 1910, the IAAUS changed its name to the National Collegiate Athletic Association.
3
        Well-Being, Nat’l Collegiate Athletic Ass’n, http://www.ncaa.org/health-and-safety (last
visited November 22, 2019).


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       21.     Article 2.2 of the NCAA Constitution specifically governs the “Principle of

Student-Athlete Well-Being,” and provides:

               2.2 The Principle of Student-Athlete Well-Being.
               Intercollegiate athletics programs shall be conducted in a manner
               designed to protect and enhance the physical and educational well-
               being of student athletes. (Revised: 11/21/05.)

               2.2.3 Health and Safety.
               It is the responsibility of each member institution to protect the
               health of, and provide a safe environment for, each of its
               participating student athletes. (Adopted: 1/10/95.)

       22.     To accomplish this purpose, the NCAA promulgates and implements standard

sport regulations and requirements, such as the NCAA Constitution, Operating Bylaws, and

Administrative Bylaws. These NCAA documents provide detailed instructions on game and

practice rules, player eligibility, scholarships, and player well-being and safety. Both NCAA

member institutions, including schools like Wayne State, and NCAA conferences are obligated

to abide by the NCAA’s rules and requirements. Specifically, according to the NCAA

Constitution: “Each institution shall comply with all applicable rules and regulations of the

Association in the conduct of its intercollegiate athletics programs . . . Members of an

institution’s staff, athletes, and other individuals and groups representing the institution’s

athletics interests shall comply with the applicable Association rules, and the member institution

shall be responsible for such compliance.” NCAA Const., Art. 2, § 2.8.1.

       23.     The NCAA publishes a health and safety guide termed the Sports Medicine

Handbook (the “Handbook”). The Handbook, which is produced annually, includes the NCAA’s

official policies and guidelines for the treatment and prevention of sports-related injuries, as well

as return-to-play guidelines, and recognizes that “student-athletes rightfully assume that those

who sponsor intercollegiate athletics have taken reasonable precautions to minimize the risk of



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injury from athletics participation.”

        24.      The NCAA, therefore, holds itself out as both a proponent of and authority on the

treatment and prevention of sports-related injuries upon which NCAA athletes (including

Plaintiff Taylor), Wayne State, and all other member institutions can rely for guidance on player-

safety issues.

        25.      Plaintiff Taylor—and football players at Wayne State—relied upon the NCAA’s

authority and guidance to protect his health and safety by treating and preventing head-related

injuries, including the effects of those head injuries later on in his life.

        26.      As compared to Plaintiff and other Wayne State football players, the NCAA was

in a superior position to know of and mitigate the risks of sustaining concussions and other TBIs

while playing football at Wayne State. It failed to do so.

II.     Decades of Studies Firmly Establish the Dangers of Football-Related Concussions.

        27.      Throughout the twentieth century and into the twenty-first century, studies have

firmly established that repetitive and violent impacts to the head can cause concussions and

TBIs, with a heightened risk of long-term injuries and impacts, including—but not limited to—

memory loss, dementia, depression, Alzheimer’s disease, Parkinson’s disease, and CTE.

        28.      Such violent impacts to the head are a one-way street for those who experience

them. As Jonathan J. Russin—Assistant Surgical Director at the USC Neurorestoration Center at

the Keck School of Medicine—has stated, “there’s no way to undo a traumatic brain injury,” and

one’s “best bet is to avoid concussions altogether.”4




4
      Deanna Pai, Do Concussions Increase the Risk of Stroke or Brain Cancer?, Keck Med. of
USC, https://bit.ly/2MzSkkC (last visited November 22, 2019).


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       29.     To better understand the results of these studies, a brief introduction to

concussions in football follows.

       A.       An Overview of Concussions in Football.

       30.     A TBI is an injury to the brain that comes as the result of the application of either

external physical force or rapid acceleration and deceleration forces, which disrupts brain

function in a manner that causes impairments in cognitive and/or physical function.

       31.     A concussion is a TBI initiated by an impact to the head, which causes the head

and brain to move rapidly back and forth. The movement causes the brain to bounce around or

twist within the skull, damaging brain cells and leading to harmful chemical changes in the brain.

       32.     The human brain is made of soft tissue, cushioned by spinal fluid, and encased in

a hard skull. During everyday activity, the spinal fluid protects the brain from crashing against

the skull. But relatively minor impacts—including not only direct blows to the head, but also

blows to the body and movements that cause the neck to whiplash—can move the brain enough

to press through the spinal fluid, knock against the inside of the skull, and cause concussions.

       33.     Concussions typically occur when linear and rotational accelerations impact the

brain through either direct impact to the head or indirect impacts that whiplash the head. During

the course of a college football season, studies have shown that athletes can receive more than

1,000 impacts greater than 10 Gs. This is slightly more force than a fighter pilot receives from

performing maximal maneuvers. The majority of football-related hits to the head exceed 20 Gs,

with some going well over 100 Gs.

       34.     Kevin Guskiewicz, of the University of North Carolina’s Sports Concussion

Research Program, compared the impacts sustained in a routine college football practice to

crashing a car: “If you drove your car into a wall at twenty-five miles per hour and you weren’t




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wearing your seat belt, the force of your head hitting the windshield would be around 100 [Gs]:

in effect, the player [who sustained two hits above 80 Gs] had two car accidents that morning.” 5

                i.     Concussion Symptoms.

       35.     When a collegiate athlete suffers a severe impact to the head, he may experience

concussion-related symptoms, including:

                  •   “seeing stars” and feeling dazed, dizzy, or lightheaded;

                  •   memory loss;

                  •   nausea or vomiting;

                  •   headaches;

                  •   blurred vision and sensitivity to light;

                  •   slurred speech or saying things that do not make sense;

                  •   difficulty concentrating, thinking, or making decisions;

                  •   difficulty with coordination or balance;

                  •   feeling anxious or irritable for no apparent reason; and

                  •   feeling overly tired.

       36.     A collegiate athlete may not recognize the signs and/or symptoms of a

concussion, and, more often, the effect of the concussion itself prevents him from recognizing

them. Because of that, he may put himself at risk of further injury by returning to a game after a

concussion. Brains that have not had time to properly heal from a concussion are particularly

susceptible to further injury.

                ii.    Post-Concussion Treatment.



5
        Malcolm Gladwell, Offensive Play, The New Yorker (October 19, 2009)
http://www.newyorker.com/magazine/2009/10/19/offensive-play.


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        37.     After a concussion, the brain needs time to heal. Doctors generally prohibit

 individuals from returning to normal activities—certainly including contact sports—until all

 symptoms have subsided. They do so because, immediately after a concussion, the brain is

 particularly vulnerable to further injury. Even after the immediate effects have worn off, a person

 who has suffered a concussion is four to six times more likely to receive another concussion than

 a person who has been concussion-free.

        38.     The length of the healing process varies from person to person and from

 concussion to concussion. Symptoms may even last for one or two weeks.

        39.     Individuals who do not recover from a concussion within a few weeks are

 diagnosed with post-concussion syndrome. The symptoms of post-concussion syndrome can last

 for months, and sometimes can even be permanent. Generally, people suffering from post-

 concussion syndrome are referred to specialists for additional medical help.

        40.     Still, many people think of concussions as short-term, temporary injuries.

 However, decades of scientific research demonstrate the effects of concussions are anything but

 temporary.

        B.       Studies Confirm the Dangers and Long-Term Effects of Concussions.

        41.     Two of the leading studies of the long-term effects of concussions were conducted

 by Boston University’s Center for the Study of Traumatic Encephalopathy and the Brain Injury

 Research Institute. These studies showed the “devastating consequences” of repeated

 concussions, including that they lead to an increased risk of depression, dementia, and suicide.

 These studies have also demonstrated that repeated concussions trigger progressive degeneration

 of the brain tissue, including the build-up of an abnormal protein called the tau protein.

        42.     Between 2002 and 2007, Dr. Bennett Omalu of the Brain Injury Research Institute




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 examined the brains of five former NFL players: Andre Waters, Mike Webster, Terry Long,

 Justin Strzelczyk, and Damien Nash. Waters killed himself; Nash died unexpectedly at the age of

 24; Webster, homeless and cognitively impaired, died of heart failure; and Strzelczyk died

 driving the wrong way down a highway at 90 miles per hour. Four of the five brains showed the

 telltale characteristics of CTE—a progressive, degenerative disease of the brain found in people

 with a history of repetitive brain trauma.

         43.    In his early studies, Dr. Robert Cantu of the Boston University Center for the

 Study of Traumatic Encephalopathy found evidence of CTE in 90 of 94 (96%) autopsied brains

 of former NFL players. A recent update to these studies found CTE in a staggering 110 of 111

 (99%) former NFL players and 48 of 53 former college players (91%). 6

         44.    These more recent studies were neither aberrations nor surprises but

 confirmations of what was already known or readily apparent from the existing medical

 literature.

         45.    Studies like these, which establish the devastating dangers related to TBIs, date

 back to the early twentieth century. For example, in an article in the 1905 multi-volume medical

 text A System of Medicine, surgeon Sir William Bennett noted that the dangers from TBIs can

 arise just as easily when “no loss of consciousness occurs at all,” and that such injuries “may in

 the end have far graver results” due to their “escap[ing] treatment altogether in the first instance”

 given their less severe appearance. 7 Bennett noted that the imposition of a strict treatment

 regimen immediately after an injury, during initial recovery, and following the initial recovery



 6
        Jesse Mez, MD, MS, et al., Clinicopathological Evaluation of Chronic Traumatic
 Encephalopathy in Players of American Football, 318 JAMA 4, 360–370 (2017).
 7
        Sir William Bennett, Some Milder Forms of Concussion of the Brain, A Sys. of Med.
 Vol. 8 231-32 (2d ed. 1910).


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 period, was essential to the “treatment of all cases of concussion of the brain, whether they be

 severe or slight.”

         46.     Some early articles from this period began to recognize the unique dangers

 presented by football, specifically. The editors of the Journal of the American Medical

 Association recognized the long-term risks of such head injuries very early on, writing in 1905

 that “[t]o be a cripple or lunatic for life is paying high for athletic emulation” via football. 8

 Similarly, the risks of concussion in football were discussed in a 1906 article by Dr. Edward

 Nichols, who observed that a concussed player might go through multiple plays before his

 teammates noticed his altered mental state.9

         47.     Beginning with studies on the brain injuries suffered by boxers in the 1920s,

 medical science began to clearly recognize the debilitating effects of concussions and other TBIs,

 connect it to contact sports (including football), and find that repetitive head impacts can cause

 permanent brain damage and increased risk of long-term cognitive decline and disability.

         48.     For instance, in 1927, Drs. Michael Osnato and Vincent Giliberti discussed a

 disease they called traumatic encephalitis in an article on post-concussion damage in Archives of

 Neurology & Psychiatry, concluding that brain disease could manifest in “young men knocked

 out in football and other games,” but noting that the issue had “not received adequate

 attention.”10 Then, in 1928, Pathologist Dr. Harrison Martland published a study called “Punch

 Drunk” in the Journal of the American Medical Association, where he described the clinical



 8
         Editors, The Football Mortality, 39 JAMA 1464 (1905).
 9
         Edward Nichols, The Physical Aspect of American Football, 154 Boston Med. & Surgical
 J.1 (1906).
 10
         Michael Osnato & Vincent Giliberti, Postconcussion Neurosis-Traumatic Encephalitis,
 18 Archives of Neurology & Psychiatry 181 (1927).



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 spectrum of abnormalities found in nearly 50 percent of boxers who had been knocked out or

 who had suffered a considerable impact to the head.11

        49.     Countless studies were later conducted on boxers suffering chronic neurological

 symptoms as a result of repeated head injuries, and who displayed signs of dementia and

 impairment of motor functions. 12 As incidents of chronic encephalopathy increased, they were

 often characterized as a “Parkinsonian” pattern of progressive decline. However, in a chapter of a

 mid-twentieth century book on brain injuries, psychiatrists Karl M. Bowman and Abram Blau

 coined the term “chronic traumatic encephalopathy” to explain the deterioration of a boxer’s

 mental state over time.13

        50.     In 1936, Dr. Edward J. Carroll, Jr. wrote an article further recognizing “punch-

 drunk syndrome’s” seriousness, stating that “no head blow is taken with impunity, and [] each

 knock-out causes definite and irreparable damage. If such trauma is repeated for a long enough

 period, it is inevitable that nerve cell insufficiency will develop ultimately, and the individual

 will become punch-drunk.” He also noted that in addition to boxers, punch drunk had been

 recognized among football players.14

        51.     The next year, the American Football Coaches Association published a report




 11
         Dr. Harrison S. Martland, Punch Drunk, 91 JAMA 1103 (1928).
 12
         See, e.g., E. Guttmann & C.E. Winterstein, Disturbances of Consciousness After Head
 Injuries: Observations on Boxers, 84 J. of Mental Sci. 347 (Mar. 1938); Harry L. Parker,
 Traumatic Encephalopathy (‘Punch Drunk’) of Professional Pugilists, 15 J. of Neurology &
 Psychopathology 20 (July 1934); C.E. Winterstein, Head Injuries Attributable to Boxing, 2
 Lancet 719 (Sept. 1937).
 13
         K.M. Bowman & A. Blau, Psychotic States Following Head and Brain Injury in Adults
 and Children, Injuries of the Skull, Brain and Spinal Cord: Neuropsychiatric, Surgical, and
 Medico-Legal Aspects 309 (S. Brock, ed. 1940).
 14
         Edward J. Carroll, Jr., Punch-Drunk, 191 Am. J. Med. Sci. 706 (1936).



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 warning that players who suffer even “one concussion” should be removed from play. 15

         52.     In 1952, an article published in The New England Journal of Medicine first

 recommended a “three-strike rule” for concussions in football, demanding that players cease to

 play football permanently after receiving their third concussion.16

         53.     Starting in the late 1960’s, the medical community began focusing on the effects

 of concussion-related injuries in football. In a 1967 study, Drs. John R. Hughes and D. Eugene

 Hendrix examined how severe impacts affected brain activity in football players by utilizing

 electroencephalograms (“EEGs”). 17 Several years after that, a potentially fatal condition known

 as “Second Impact Syndrome” was identified, which is a re-injury to an already-concussed brain

 that triggers swelling the skull cannot accommodate.

         54.     In 1975, the Chief Medical Officer of the British Boxing Board of Control

 suggested boxers were not the only persons or athletes vulnerable to the risk of long-term brain

 injuries, stating:

                 Irreversible brain damage caused by regular excessive punching
                 can cause a boxer to become punch drunk, a condition known
                 euphemistically in medical terms as [Chronic] Traumatic
                 Encephalopathy. The condition can be caused by other hazards of
                 contact sports—taking too many falls while hunting or steep
                 chasing or the continual use of brute force rather than skill in the
                 rugby field or heading a football incessantly over many years.
                 Anything which entails intermittent trauma to the head can
                 cause it.18



 15
         Proceedings of the Seventeenth Annual Meeting of the American Football Coaches
 Association (Dec. 29, 1937) (“Sports demanding personal contact should be eliminated after an
 individual has suffered a concussion”).
 16
         Augustus Thorndike, Serious Recurrent Injuries of Athletes—Contraindications to
 Further Competitive Participation, 247 New Eng. J. Med. 554, 555-56 (1952).
 17
         John R. Hughes & D. Eugene Hendrix, Telemetered EEG From A Football Player In
 Action, 24 Electroencephalography & Clin. Neurophysiology 183 (1968).
 18
         J.W. Graham, Eight, Nine, Out! Fifty Years as Boxer’s Doctor, 56 (1975).


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        55.     Overall, countless studies—published in prominent medical journals such as the

 Journal of the American Medical Association, Neurology, The New England Journal of

 Medicine, and Lancet—warned of the dangers of single concussions, multiple concussions,

 and/or football-related head trauma from multiple concussions and head injuries. These studies

 collectively established that:

                  •   repetitive head trauma in contact sports, including football,
                      has potential dangerous long-term effects on brain function;
                  •   traumatic encephalopathy (dementia pugilistica) is caused by
                      repeated sub-concussive and concussive blows to the head;
                  •   acceleration and rapid deceleration of the head that results in
                      brief loss of consciousness also results in a tearing of the
                      axons (brain cells) in the brainstem;
                  •   with respect to head injury in athletes who play contact
                      sports, there is a relationship between neurologic pathology
                      and length of the athlete’s career;
                  •   immediate retrograde memory issues occur following
                      concussions;
                  •   head injuries require recovery time without risk of subjection
                      to further injury;
                  •   a football player who suffers a concussion requires
                      significant rest before being subjected to further contact; and
                  •   minor head trauma can lead to neuropathological and
                      neurophysiological alterations, including neuronal damage,
                      reduced cerebral blood flow, altered brainstem evoked
                      potentials and reduced speed of information processing.

        56.     As a result of these studies, medical professionals began recommending changes

 to the game of football and how concussion-related injuries should be handled.

        57.     By 1991, Dr. Robert Cantu, the American Academy of Neurology, and the

 Colorado Medical Society had developed return-to-play criteria for football players suspected of

 sustained head injuries.

        58.     In 2003, an NCAA concussion study concluded that football players who had

 previously sustained a concussion were more likely to have future concussion injuries. Another



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 2003 NCAA concussion study concluded that collegiate football players “may require several

 days for recovery of symptoms, cognitive dysfunction, and postural instability after [a]

 concussion,” and that concussions are “followed by a complex cascade of ionic, metabolic, and

 physiological events that can adversely affect cerebral function for several days to weeks.”19

        59.     Following these studies, in 2004, the National Athletic Trainers’ Association

 published a position statement, recommending baseline cognitive and postural-stability testing,

 as well as return-to-play recommendations, including holding out athletes who exhibit symptoms

 of a suspected head injury.

        60.     Building upon that, a convention of neurological experts met in Prague in 2004

 with the aim of providing recommendations for the improvement of safety and health of athletes

 who suffer concussive injuries in ice hockey, rugby, football, and other sports, based on the most

 up-to-date research. These experts recommended that a player never be returned to play while

 symptomatic, and coined the phrase, “when in doubt, sit them out.”

        61.     Ultimately, while the NCAA knew of the harmful effects of TBIs (and other head

 injuries) on athletes for decades, they ignored these facts and failed to institute any meaningful

 methods of warning and/or protecting the athletes, including football players like Plaintiff Taylor

 and other Wayne State student-athletes. For the NCAA, the continued expansion and operation

 of college football was simply too profitable to put at risk.

 III.   The NCAA Breached Its Duties to Its Student-Athletes, Including Plaintiff Taylor,
        by Ignoring the Dangers of Concussions and Failing to Implement Adequate
        Concussion Management Protocols.

        62.     For decades, the NCAA has been aware—through its own institutional


 19
        Michael McCrea, et al., Acute Effects and Recovery Time Following Concussion in
 Collegiate Football Players, The NCAA Concussion Study, The Journal of the Am. Med. Ass’n
 (November 19, 2003), available at http://jama.jamanetwork.com/article.aspx?articleid=197668.


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 knowledge, internal research, and current medical science, among other sources of information—

 that severe and/or repeated head impacts can lead to long-term brain injuries, including memory

 loss, dementia, depression, and CTE. Unfortunately, while the NCAA knew about the harmful

 and devastating effects of these sub-concussive and concussive injuries, it recklessly ignored

 these facts and failed to implement reasonable concussion management protocols to protect its

 athletes, including Plaintiff.

         63.     Such conduct stands in stark contrast to the NCAA’s approach in comparable

 contexts. For instance, in 1960, the NCAA wholly discontinued its relationship with collegiate

 boxing following widespread criticism of the sport’s dangers and a heightened organizational

 awareness of the long-term risks student boxers faced—including, but not limited to, developing

 “punch drunk syndrome.” But as to college football, including Wayne State’s football program,

 the NCAA continued to govern, support, and profit from the sport without disclosing what it

 knew to student-athletes, including Plaintiff Taylor.

         64.     Since at least 1933, the NCAA has known of the serious nature of concussions

 and other head injuries in college football, and even recognized the need for appropriate

 concussion management protocols. In its 1933 Sports Medicine Handbook—which it distributed

 to all member institutions—the NCAA specifically recognized that head injuries warrant special

 attention and should not be regarded lightly.

         65.     The 1933 Sports Medicine Handbook then provided information for school and

 college doctors, coaches, and trainers to identify the signs and symptoms of concussions, as well

 as methods to be used on the sidelines for treating them. It discussed head injuries, stating that

 they “are in a category by themselves and warrant special attention,” as they “may be, and often

 are more severe in their immediate and remote consequences” than other injuries. Notably, the




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 1933 Sports Medicine Handbook recommended that, when concussion-related symptoms lasted

 longer than two days, players should “not be permitted to compete for 21 days or longer, if at

 all.” It also stated, “[t]here is definitely a condition described as ‘punch drunk’ and often

 recurrent concussion cases in football and boxing demonstrate this,” and that “[a]ny individual

 who is knocked unconscious repeatedly on slight provocation should be forbidden to play body-

 contact sport.”

        66.        The NCAA recognizes that its Sports Medicine Handbook “may constitute some

 evidence of the legal standard of care,” and has publicly recognized its duty and moral obligation

 to protect collegiate athletes. As NCAA President Mark Emmert testified to the Senate

 Commerce Committee in January 2014, “I will unequivocally state we have a clear moral

 obligation to make sure we do everything we can to protect and support student-athletes.”

        67.        Indeed, in the September 1968 issue of NCAA News, the NCAA published an

 article entitled Dangers of Grid Head Injuries Cited by Safeguards Committee. In the article, the

 NCAA Committee on Competitive Safeguards and Medical Aspects of Sport issued a statement

 on the dangers of repeated head injuries in football, stating:

                   [T]hose individuals who have been rendered unconscious, even
                   momentarily, in a given game should never be allowed to play
                   again in the same game and not allowed to return to contact until
                   all symptoms have cleared up entirely and he has been checked by
                   a competent medical authority.

        68.        Rather than inform Plaintiff and other Wayne State athletes of these risks or

 implement protocols to protect and safeguard him from TBI-related injuries (as the NCAA

 promised to do through the NCAA Constitution, among other things), the NCAA failed to

 meaningfully adopt or enforce the internationally accepted guidelines regarding concussion

 management and return to play protocols until 2010.



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        69.     Instead, in complete disregard of the vast body of known scientific evidence and

 the resources and authority that it possessed, the NCAA failed prior to 2010 to, amongst other

 things, do any of the following:

                    •   implement adequate guidelines or rules to prevent repeated
                        concussions, and failed to educate players, including
                        Plaintiff, about the increased risk of concussive and sub-
                        concussive injury in football, particularly under
                        circumstances when the helmet is used as a weapon when
                        tackling, blocking, or running with the football;
                    •   recommend or enforce adequate return to play procedures or
                        take action to educate athletes, including Plaintiff, about the
                        risks of repetitive head injuries;
                    •   conduct a football program that proactively encouraged
                        Plaintiff and other Wayne State football players to avoid
                        head injuries, instead compelling players to ignore
                        concussion symptoms and continue to play football within
                        moments of experiencing concussion symptoms; and
                    •   contact football players, including Plaintiff, after they left
                        Wayne State to inform them that they had been exposed to an
                        increased risk of long-term brain damage by the sub-
                        concussive and concussive blows sustained while playing
                        football for Wayne State.

        70.     In April 2010, under mounting public pressure, the NCAA made changes to its

 concussion treatment protocols, this time enacting a new policy that required its member

 institutions to have a Concussion Management Plan (“CMP”) in place for all sports.

        71.     Under that new policy, which became effective in August 2010, member schools

 were required to have a CMP on file “such that a student-athlete who exhibits signs, symptoms,

 or behaviors consistent with a concussion shall be removed from practice or competition and

 evaluated by an athletics healthcare provider with experience in the evaluation and management

 of concussions.”

        72.     The policy further states that students diagnosed with a concussion “shall not

 return to activity for the remainder of that day” and the team physician would determine that


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 medical clearance.

           73.   Finally, the policy required students to sign a statement “in which they accept the

 responsibility for reporting their injuries and illnesses, including signs and symptoms of

 concussion” to medical staff and noted that students would be provided educational materials on

 concussions during the signing process.

           74.   This policy is flawed though: due to the very nature of concussions, athletes

 suffering concussive injuries are in no position to police themselves or to give informed consent

 about whether to continue playing. For example, the types of questions used to screen players for

 concussions include “What’s your name?”, “What year is it?”, and “What sport are we

 playing?”. These types of questions are used for screening precisely because players

 experiencing concussions routinely fail to answer them correctly, despite their very elementary

 nature. Following logically on that, a player who cannot state his or her own name is in no

 condition to make an informed decision about whether or not to continue playing, and is entirely

 dependent on others, such as the NCAA and Wayne State, to identify concussive injuries in real-

 time and take appropriate remedial actions. The NCAA has stood in the role of guardian, tasked

 with making decisions in his and other football players’ best interests. The NCAA failed to fulfill

 that role and instead acted in its own self-interest, to the detriment of its student-athletes,

 including Plaintiff.

           75.   In the end, the NCAA implemented these (still deficient) policies far too late for

 Plaintiff Taylor and other Wayne State football players.

                             FACTS SPECIFIC TO SEAN TAYLOR

           76.   Plaintiff Sean Taylor played football at Wayne State from 1995 to 1997, as a

 center.




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        77.     While playing at Wayne State, Plaintiff Taylor suffered from numerous

 concussions, as well as countless sub-concussive hits as part of routine practice and gameplay.

        78.     Since the inception of Wayne State’s football program, through at least 2010,

 there were no adequate concussion management protocols or policies in place to address and

 treat concussions sustained by student-athletes during practice and in games. For instance, when

 Plaintiff Taylor and other Wayne State players experienced a significant head injury or

 concussion, they would quickly be returned to the field of play or only be taken out of play or

 practice for an inadequate period of time.

        79.     In fact, although Plaintiff Taylor sustained repetitive serious blows to the head in

 practices and games for the NCAA’s profit, the NCAA failed to adopt or implement adequate

 concussion management safety protocols or return to play guidelines during his time on Wayne

 State’s football team.

        80.     As a result, Plaintiff Taylor now suffers from issues including, but not limited to,

 depression, headaches, emotional instability, loss of impulse control, loss of concentration,

 memory loss, speech and language impairment, suicidal thoughts, and motor impairment.

                               CLASS ACTION ALLEGATIONS

        81.      Class Definition: Plaintiff Sean Taylor brings this action for himself and on

 behalf of a class of similarly situated individuals, defined as follows:

                All individuals who participated in Wayne State’s football program
                between 1952 and 2010.

 The following people are excluded from the Class: (1) any Judge or Magistrate presiding over

 this action and members of their families; (2) Defendant, Defendant’s subsidiaries, parents,

 successors, predecessors, and any entity in which the Defendant or its parents have a

 controlling interest and its current or former employees, officers, and directors; (3) persons



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 who properly execute and file a timely request for exclusion from the Class; (4) persons whose

 claims in this matter have been finally adjudicated on the merits or otherwise released; (5)

 Plaintiff’s counsel and Defendant’s counsel; and (6) the legal representatives, successors, and

 assigns of any such excluded persons.

        82.     Numerosity: The exact number of members of the Class is not available to

 Plaintiff at this time, but it is clear that individual joinder is impracticable. Upon information and

 belief, hundreds of individuals fall into the definition of the Class.

        83.     Commonality: There are many questions of law and fact common to Plaintiff and

 the Class, and those questions predominate over any questions that may affect individual

 members. Common questions for the Class include, but are not limited to, the following:

        (a)     Whether Defendant had a duty to adequately warn and educate players
                about the dangers and symptoms of concussions and concussion-
                related brain injuries;

        (b)     Whether Defendant had a duty to enact rules and procedures to protect
                players from sustaining concussions and concussion-related brain
                injuries;

        (c)     Whether Defendant’s conduct as alleged herein constitutes a breach of
                duty;

        (d)     Whether Defendant’s conduct as alleged herein constitutes negligence;

        (e)     Whether Defendant’s conduct as alleged herein constitutes breach of
                contract;

        (f)     Whether Defendant’s conduct as alleged herein constitutes fraudulent
                concealment; and

        (g)     Whether Plaintiff and the Class are entitled to equitable relief,
                including actual and compensatory damages, and other injunctive
                relief.




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        84.     Typicality: Plaintiff’s claims are typical of those of members of the Class, as

 Plaintiff and other members sustained injuries arising out of the same wrongful conduct of

 Defendant.

        85.     Adequate Representation: Plaintiff will fairly and adequately represent the

 interests of the Class and has retained counsel competent and experienced in complex litigation

 and class actions. Plaintiff has no interests antagonistic to those of the Class, and Defendant has

 no defenses unique to Plaintiff.

        86.     Predominance and Superiority: Class proceedings are superior to all other

 available methods for the fair and efficient adjudication of this controversy, as joinder of all

 members of the Class is impracticable. Individual litigation would not be preferable to a class

 action because individual litigation would increase the delay and expense to all parties due to the

 complex legal and factual controversies presented in this Complaint. By contrast, a class action

 presents far fewer management difficulties and provides the benefits of single adjudication,

 economy of scale, and comprehensive supervision by a single court. Economies of time, effort,

 and expense will be fostered and uniformity of decisions will be ensured.

                                 FIRST CAUSE OF ACTION
                                        NEGLIGENCE
                 (Individually and on Behalf of the Class as Against Defendant)

        87.     Plaintiff incorporates by reference the foregoing allegations.

        88.     From its inception and by virtue of its role as the governing body of college

 athletics, the NCAA has historically assumed a duty to protect the health and safety of all

 athletes at member institutions, including Plaintiff Taylor. The NCAA also assumed a duty of

 care by voluntarily taking steps to protect and promote the health and safety of its players,

 including promulgating safety handbooks and regulations. That duty included an obligation to




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 supervise, regulate, and monitor the rules of its governed sports, and provide appropriate and up-

 to-date guidance and regulations to minimize the risk of injury to its athletes.

        89.     The duties of the NCAA included specific obligations to supervise, regulate, and

 monitor the rules of the Wayne State football program and provide appropriate and up-to-date

 guidance and regulations to minimize the risk of long-term and short-term brain damage to

 Wayne State football players, including Plaintiff Taylor.

        90.     The NCAA had a duty to educate Wayne State football players on the proper

 ways to evaluate and treat head injuries during and after football games and practices, including

 repetitive concussive and sub-concussive injuries. The NCAA’s duties further included a duty to

 warn its athletes of the dangers of concussive and sub-concussive injuries and of the risks

 associated with football before, during, and after they played college football, and as additional

 information came to light.

        91.     The NCAA had a duty not to conceal material information from Wayne State

 football players, including Plaintiff Taylor.

        92.     The NCAA breached its duties owed to Wayne State student-athletes, including

 Plaintiff Taylor, by failing to implement, promulgate, or require appropriate and up-to-date

 guidelines regarding the evaluation and treatment of TBIs on the playing field, in the locker

 room, and in the weeks and months after they sustained TBIs, as well as providing treatment for

 the latent effects of TBIs. These failings included, but are not limited to:

                (a)     failing to adequately recognize and monitor concussive and
                        sub-concussive injury during football practices and games;

                (b)     failing to adequately inform student football players of the
                        dangers of concussive and sub-concussive injuries;

                (c)     failing to adequately design and implement return to play
                        regulations for student football players who sustained
                        concussive and/or sub-concussive injuries and/or were


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                        suspected of sustaining such injuries;

                (d)     failing to adequately design and implement procedures to
                        monitor the health of student football players after they
                        sustained (or were suspected of sustaining) concussive
                        and/or sub-concussive injuries;

                (e)     failing to adequately inform the families of student football
                        players who sustained concussive and/or sub-concussive
                        injuries; and

                (f)     failing to adequately provide adequate notification, warning
                        and treatment for latent neuro-cognitive and neuro-
                        behavioral effects of concussive and sub-concussive
                        injuries, after the time student football players, including
                        Plaintiff Taylor, left Wayne State.

        93.     The NCAA breached its duties to student football players, including Plaintiff

 Taylor, by failing to disclose and/or failing to recognize and/or being willfully non-observant of:

 (a) material information regarding the long-term risks and effects of repetitive head trauma they

 possessed or should have possessed; (b) the dangers of concussive and sub-concussive injuries;

 and (c) the proper ways to evaluate, treat, and avoid concussive and sub-concussive trauma to

 football players, including Plaintiff Taylor.

        94.     As a football player at Wayne State, Plaintiff Taylor and those like him relied

 upon the guidance, expertise, and instruction of the NCAA in understanding the risks associated

 with serious and life-altering concussive and sub-concussive hits in football.

        95.     At all times, the NCAA had superior knowledge of material information regarding

 the effects of repeated head injuries, including through its institutional knowledge of such

 effects. Because such information was not readily available to Wayne State football players,

 including Plaintiff Taylor, the NCAA knew or should have known that they would act and rely

 upon its guidance, expertise, and instruction on these crucial medical issues while attending

 Wayne State and thereafter.



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        96.     Repetitive TBIs during college football practices and games have a pathological

 and latent effect on the brain. Repetitive exposure to rapid accelerations to the head causes

 deformation, twisting, shearing, and stretching of neuronal cells such that multiple forms of

 damage take place, including the release of small amounts of chemicals within the brain, such as

 protein, which is a signature pathology of the same phenomenon as boxer’s encephalopathy (or

 “punch drunk syndrome”) studied and reported by Harrison Martland in 1928.

        97.     In addition, repetitive concussive and sub-concussive blows to the head can

 significantly increase a person’s risk of developing neurodegenerative disorders and diseases,

 including but not limited to CTE, Alzheimer’s disease, and other similar cognitive-impairing

 conditions, especially when such blows are sustained at an early age.

        98.     As a direct and proximate result of Defendant’s negligence, student-athletes,

 including Plaintiff Taylor, experienced repetitive concussive and sub-concussive impacts during

 his college football career, which significantly increased their risk of developing

 neurodegenerative disorders and diseases, including but not limited to CTE, Alzheimer’s disease,

 and other, similar cognitive-impairing conditions. And indeed, Plaintiff now suffers from, and

 continues to suffer from, issues including but not limited to depression, headaches, emotional

 instability, loss of impulse control, loss of concentration, memory loss, speech and language

 impairment, suicidal thoughts, and motor impairment.

        99.     The repetitive head accelerations and hits to which student-athletes, including

 Plaintiff Taylor, were exposed to presented risks of latent and long-term debilitating chronic

 illnesses. Absent the NCAA’s negligence and concealment, the risk of harm to these student-

 athletes, including Plaintiff Taylor, would have been materially decreased, and they would not

 have developed serious mental health issues.




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        100.    As a direct and proximate result of Defendant’s negligence, Plaintiff and the Class

 have incurred damages in the form of permanent brain damage, emotional distress, past and

 future medical costs, health care, home care expenses, other out of pocket expenses, lost time,

 lost future earnings, and other damages. Plaintiff and other members of the Class will likely

 incur future damages caused by Defendant’s negligence.

        101.    As such, Defendant is the direct and proximate cause of Plaintiff and the putative

 Class’s injuries, and is liable to them for the full measure of damages allowed under applicable

 law, as well as interest, reasonable attorneys’ fees, expenses, and costs.

                               SECOND CAUSE OF ACTION
                            BREACH OF EXPRESS CONTRACT
                (Individually and on Behalf of the Class as Against Defendant)

        102.    Plaintiff incorporates by reference the foregoing allegations.

        103.    As a football player at Wayne State, an institution governed by the NCAA,

 Plaintiff Taylor and other Wayne State football players were required to, and did, enter into

 contracts with the NCAA as a prerequisite to sports participation. These contracts required

 Plaintiff Taylor and other Wayne State football players to complete a form affirming that they

 had read the NCAA regulations and applicable NCAA Division manual, which expressly

 encompassed the NCAA Constitution, Operating Bylaws, and Administrative Bylaws, and

 further, that they agreed to abide by Division Bylaws.

        104.    In exchange for these student-athletes’ agreements, the NCAA promised to

 perform certain services and functions, including, amongst other things:

                (a)     conducting intercollegiate athletics in a manner designed to
                        protect and enhance the physical and educational wellbeing
                        of NCAA athletes;
                (b)     requiring that each member institution protect the health of,
                        and provide a safe environment for, each of its participating
                        athletes; and


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                (c)     requiring that each member institution establish and
                        maintain an environment in which the NCAA athletes’
                        activities are conducted as an integral part of the athletes’
                        educational experience.

        105.    By signing and agreeing to abide by NCAA rules and regulations, and thereafter

 participating in NCAA-sanctioned sports programs in accordance with said rules and regulations,

 Plaintiff Taylor and other Wayne State football players fulfilled their contractual obligations to

 the NCAA.

        106.    As described in the foregoing allegations, the NCAA breached its contractual

 agreement by failing to ensure Plaintiff Taylor and other Wayne State student-athletes were

 provided a safe environment in which to participate in collegiate football. The NCAA further

 breached its contractual agreement by concealing and/or failing to properly educate and warn

 Plaintiff Taylor and other Wayne State football players about the symptoms and long-term risks

 of concussions and concussion-related traumatic injury.

        107.    Plaintiff Taylor and other Wayne State football players entered into written

 agreements with the NCAA in which they committed to play football at Wayne State, to attend

 Wayne State as students, and to comply with all codes of conduct and obligations as both

 football players and students at Wayne State.

        108.    Plaintiff Taylor and other Wayne State football players fulfilled their contractual

 obligations to the NCAA.

        109.    The NCAA’s contractual breaches caused Plaintiff Taylor and other Wayne State

 football players to suffer injuries and damages in the form of, inter alia, past, ongoing, and future

 medical expenses, lost time, lost future earnings, and other damages.

        110.    As a result of its misconduct, the NCAA is liable to Plaintiff and the Class for the

 full measure of damages and other relief allowed under applicable law.



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                                 THIRD CAUSE OF ACTION
                               FRAUDULENT CONCEALMENT
                 (Individually and On Behalf of the Class as Against Defendant)

        111.     Plaintiff incorporates by reference the foregoing allegations.

        112.     The NCAA has long understood that repetitive head impacts sustained while

 playing football created a risk of harm to student-athletes that was similar or identical to the risk

 boxers faced by participating in boxing practices and matches.

        113.     The NCAA was aware of and understood the significance of the published

 medical literature described herein, which detailed the serious risk of short- and long-term brain

 injury and disease associated with repetitive head impacts, including those which Plaintiff Taylor

 and other Wayne State football players were exposed.

        114.     The NCAA knowingly concealed these risks from Plaintiff Taylor and other

 Wayne State football players considering whether or not to participate in an NCAA football

 program.

        115.     By concealing these highly material facts, the NCAA intended to induce a false

 belief in Plaintiff Taylor and Wayne State football players like him about the short- and long-

 term risks of repetitive head impacts in football. As an entity that voluntarily took on the role of

 governing the sport of football in colleges across the country (including Wayne State), and was

 created and perpetuated specifically to protect player safety, the NCAA had a duty to speak

 about these issues—instead, it remained silent. The NCAA’s intent in doing so was to induce

 Plaintiff Taylor and other Wayne State football players to continue playing NCAA football, even

 after sustaining one or more concussions and even when those concussions required additional

 time to heal.

        116.     Plaintiff Taylor and other Wayne State football players could not have reasonably




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 been expected to know or discover the truth about the risks associated with concussive and sub-

 concussive blows to the head, or were misled from obtaining such truthful information. Plaintiff

 Taylor and other Wayne State football players were under the care and treatment of the NCAA,

 and justifiably relied on the NCAA’s silence as representing facts that did not exist.

         117.   Given the NCAA’s superior and unique vantage point, Plaintiff Taylor and other

 Wayne State football players reasonably looked to the NCAA for guidance on head impacts—

 and concussions, in particular—as well as the later-in-life consequences of receiving repetitive

 head impacts during football games and practices at Wayne State.

         118.   The NCAA failed to act reasonably in light of its omission, including by failing to

 develop and implement adequate guidelines and rules regarding return-to-play criteria, and other

 safety procedures. The NCAA’s inaction and concealment increased the risk of long-term injury

 and illness in Wayne State football players, including Plaintiff Taylor—and indeed, did result in

 them suffering from long-term brain injuries and disease.

         119.   As a direct and proximate result of Defendant’s knowing concealment and/or

 willful blindness, Plaintiff Taylor and other Wayne State football players suffered substantial

 injuries.

         120.   As a direct result of the NCAA’s failure to reveal pertinent information, Plaintiff

 Taylor and Wayne State football players like him incurred economic and non-economic damages

 in the form of pain and suffering, permanent brain damage, past and future medical costs, health

 care, home care expenses, other out of pocket expenses, lost time, lost future earnings, and the

 loss of enjoyment of life.

         121.   As a result, Defendant is liable to Plaintiff and the Class for the full measure of

 damages allowed under applicable law.




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                                      PRAYER FOR RELIEF

        WHEREFORE, Plaintiff Sean Taylor, individually and on behalf of the Class,

 respectfully requests that the Court enter an Order providing for the following relief:

        A.      Certify this case as a class action on behalf of the Class defined above, appoint

 Plaintiff as representative of the Class, and appoint his counsel as Class Counsel;

        B.      Declare that Defendant’s actions, as set out above, constitute negligence, breach

 of contract, and fraudulent concealment;

        C.      Award all economic, monetary, actual, consequential, compensatory, and punitive

 damages available at law and caused by Defendant’s conduct, including without limitation

 damages for past, present, and future medical expenses, other out of pocket expenses, lost time

 and interest, lost future earnings, and all other damages suffered, including any future damages

 likely to be incurred by Plaintiff and the Class;

        D.      Award Plaintiff and the Class reasonable litigation expenses and attorneys’ fees;

        E.      Award Plaintiff and the Class pre- and post-judgment interest, to the extent

 allowable;

        F.      Enter injunctive and/or declaratory relief as is necessary to protect the interests of

 Plaintiff and the Class; and

        G.      Award such other and further relief as equity and justice may require.

                                          JURY DEMAND

        Plaintiff demands a trial by jury for all issues so triable.

                                                Respectfully submitted,

                                                SEAN TAYLOR, individually and on behalf of all
                                                others similarly situated,




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 Dated: November 22, 2019           By: /s/ Jeff Raizner
                                    One of Plaintiff’s Attorneys

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                                    *Admission to be sought.




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